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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SMILEDIRECTCLUB, LLC,                        )
                                             )
            Plaintiff,                       )     CIVIL ACTION FILE
v.                                           )     NO: 1:18-cv-02328-WMR
                                             )
GEORGIA BOARD OF DENTISTRY,                  )
et al.,                                      )
                                             )
            Defendants.                      )

            ORDER ON DEFENDANTS’ MOTION TO DISMISS
      This matter is before the Court on Defendants’ Motion to Dismiss [Doc. 29]

pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), and the American Association of

Orthodontists’ (“AAO”) motion for leave to file an Amicus Curiae Response Brief

[Doc. 46]. AAO’s motion for leave to file an Amicus Curiae Response Brief [Doc.

46] is DENIED. After consideration of the arguments presented by the parties, the

applicable law, and all appropriate matters of record, Defendants’ Motion to Dismiss

[Doc. 29] is GRANTED IN PART and DENIED IN PART.

I.    BACKGROUND

      The averments of the Complaint show that Plaintiff SmileDirectClub, LLC

(“SmileDirect”) is a dental service organization that provides services to

contractually affiliated dentists in Georgia who wish to offer at-home clear teeth

aligner treatment for cases of mild to moderate malocclusion, i.e. ̶ improper

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positioning of the teeth when the jaws are closed. (See Doc. 1, Complaint at ¶ 3).

      In order to provide its services, SmileDirect operates various locations called

SmileShops. A patient who wishes to receive at-home teeth alignment treatment

would visit a SmileShop, where trained technicians would take digital scans and

photos of the patient’s teeth and gums. The digital scans and photos are sent to the

SmileDirect lab, where they are used to create a 3D model of the patient’s mouth,

which, along with the digital scans and pictures, are provided to a Georgia-licensed

dentist or orthodontist at another location for review and evaluation. The dentist or

orthodontist then identifies any periodontal disease, cavities, or any other oral

conditions that requires further investigation or which would prevent the patient

from being a candidate for SmileDirect’s clear aligners. (See Doc. 1, Complaint at

¶¶ 24-28).    If the dentist or orthodontist determines that the patient may be

appropriately treated with SmileDirect’s clear aligners, then such professional will

approve a patient-specific treatment plan for the patient. The treatment plan is

shared with the patient online through SmileDirect’s website portal. If the patient is

satisfied with the treatment plan and elects to move forward with treatment, the

dentist or orthodontist will write a prescription for the clear aligners. Throughout

the treatment process, the licensed dentist or orthodontist maintains sole

responsibility for all clinical decisions and all aspects of the patient’s care. (See Doc.

1, Complaint at ¶¶ 29-30).


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      The Complaint further avers that, through the use of SmileShops and its web-

based platform, SmileDirect has been able to reduce drastically the cost of expensive

aligner treatment and increase access to aligner treatment for many unreached

segments of the population, all while ensuring that patients receive alignment

treatment that is approved of and closely monitored by Georgia-licensed dentists and

orthodontists. (See Doc. 1, Complaint at ¶ 32).

      Against this backdrop of consumers having less expensive treatment options

for straightening their teeth, the Georgia Board of Dentistry voted to amend Georgia

Board of Dentistry Rule 150-9-.02 to add, inter alia, a subparagraph (3)(aa) which

expands the duties of “dental assistants” to require that digital scans taken for the

purpose of fabricating orthodontic appliances and models to be made under the direct

supervision of a licensed dentist. SmileDirect contends that the amendment would

preclude its technicians from taking the same type of digital scans at its SmileShop

locations, where a dentist is not physically present, and later providing those scans

and resulting 3D models to a Georgia-licensed dentist or orthodontist located offsite

for evaluation and review. (See Doc. 1, Complaint at ¶¶ 34-38, and ¶58).

SmileDirect alleges that the adoption of subparagraph (3)(aa) makes it virtually

impossible for SmileDirect, and its affiliated Georgia-licensed dentists and

orthodontists, lawfully to conduct business in Georgia without making costly and




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prohibitive changes to SmileDirect’s current business model. (See Doc. 1, Complaint

at ¶ 43, and ¶ 58).

      Accordingly, SmileDirect filed the instant lawsuit against the Georgia Board

of Dentistry seeking a declaratory judgment that SmileDirect’s practice of providing

digital scan services to its affiliated dentists or orthodontists pursuant to the protocol

described above does not constitute the practice of dentistry or dental hygiene

within the meaning of O.C.G.A. §§ 43-11-1(6), 43-11-17(a), and 43-11-74, and is,

therefore, outside the regulatory jurisdiction of the Georgia Board of Dentistry.

(See Doc. 1, Complaint at ¶¶82-88). SmileDirect further asserts claims against the

Georgia Board of Dentistry and its members (collectively, the “Defendants”)

seeking injunctive relief and damages for violations of 15 U.S.C §1, the

Fourteenth Amendment, and 42 U.S.C. § 1983. (See Doc. 1, Complaint at

¶¶90-113). The Defendants have moved to dismiss the Complaint pursuant to

Fed. R. Civ. P. 12(b)(1) and 12(b)(6). II. LEGAL STANDARD

      “To survive a motion to dismiss [under Rule 12 (b)(6)], a complaint need only

present sufficient facts, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Renfroe v. Nationstar Mortg., LLC, 822 F.3d 1241, 1243-1244 (11th

Cir. 2016) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The

complaint must ‘raise a right to relief above the speculative level,’ but it need not

contain ‘detailed factual allegations.’” Renfroe, 822 F3d at 1244 (quoting Twombly,


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550 U.S. at 555). If the court determines that well-pleaded facts, accepted as true,

do not state a claim that is plausible, the claims must be dismissed. Twombly, 550

U.S. at 570.    “When a defendant properly challenges subject matter jurisdiction

under Rule 12(b)(1), however, the district court is free to independently weigh

facts[.]” Turcios v. Delicias Hispanas Corp., 275 Fed. Appx. 879, 880 (11th Cir.

2008).

III. ANALYSIS

   A. Claim for declaratory relief (Count I).

      SmileDirect seeks a declaratory judgment that SmileDirect’s acts of providing

digital scan services to its affiliated dentists or orthodontists does not constitute the

practice of dentistry or dental hygiene within the meaning of O.C.G.A. §§

43-11-1(6), 43-11-17(a), and 43-11-74, and is, therefore, outside the regulatory

jurisdiction of the Georgia Board of Dentistry. SmileDirect’s claim is incorrect.

      Georgia’s General Assembly, in enacting the Dental Practice Act, has given

the Georgia Board of Dentistry significant authority to regulate the practice of

dentistry. See O.C.G.A. § 43-11-7. Furthermore, O.C.G.A. § 43-11-1(6) defines

“dentistry” as “the evaluation, diagnosis, prevention, or treatment . . . ,whether using

surgical or non-surgical procedures, of diseases, disorders, or conditions . . . of the

oral cavity, maxillofacial area, or the adjacent and associated structures . . .




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including, but not limited to, the acts specified in Code Section 43-11-17.” O.C.G.A.

§ 43-11-17, in turn, sets out a non-exclusive list of acts that constitute prima-facie

evidence of the practice of dentistry. Among those acts are the examination of “any

human oral cavity, teeth, gingiva . . . or associated structures or [taking] an

impression for the purpose of diagnosing, treating, or operating upon the same[,]”

O.C.G.A. § 43-11-17(a)(5), and any “attempts to correct a malposition” of the teeth

(such as through the use of orthodontic appliances), O.C.G.A. § 43-11-17(a)(2).

      Here, SmileDirect’s acts of taking digital scans of a patient’s mouth for the

purpose of having a dentist or orthodontist approve of a treatment plan for correcting

a malposition of the patient’s teeth falls squarely within the definition of the practice

of dentistry as set forth in O.C.G.A. § 43-11-1(6) and O.C.G.A. § 43-11-17(a)(2)

and (a)(5). Accordingly, SmileDirect has failed to state a plausible claim for

declaratory relief, and the Defendant’s Motion to Dismiss [Doc. 29] is GRANTED

as to Count I of the Complaint.

      B. Claims for violations of 15 U.S.C §1, the Fourteenth Amendment and

42 U.S.C. § 1983 (Counts II-IV).

      1. Sovereign Immunity

      As a threshold matter, the Georgia Board of Dentistry argues that it is entitled

to sovereign immunity under the Eleventh Circuit’s decision in Versiglio v. Bd. of

Dental Examiners of Alabama, 686 F.3d 1290 (11th Cir. 2012). This Court agrees.


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      The Georgia Board of Dentistry is protected by sovereign immunity because

it was acting as an arm of the State when it engaged in the function at issue here—

rulemaking. In Manders v. Lee, 338 F.3d 1304 (11th Cir. 2003), the Eleventh Circuit

set out four factors to determine whether an entity is an arm of the State: “(1) how

state law defines the entity; (2) what degree of control the state maintains . . . ; (3)

where the entity derives its funds; and (4) who is responsible for judgments against

the entity.” Id. at 1309. Each factor weighs in favor of sovereign immunity here:

      •       The Board is created by statute, O.C.G.A. § 43-11-7, and is a division
              of Georgia’s Department of Community Health, O.C.G.A § 43-11-
              2.1(a), which is itself protected by sovereign immunity. Live Oak
              Consulting, Inc. v. Dep’t of Cmty. Health, 281 Ga. App. 791 (2006).
              The Act refers to Board Members as state officials. See O.C.G.A § 43-
              11-6.

      •       The State maintains some control over the Board. The Governor
              appoints (and may remove) the Board Members. O.C.G.A. §§ 43-11-2,
              43-1-14, 43-1-17. Georgia’s Senate confirms all appointments.
              O.C.G.A § 43-1-16. And the Board’s rules are approved by the
              Governor. O.C.G.A § 43-1C-3.

      •       The Board is funded through state appropriations. See, e.g., Ga. House
              of Representatives, Budget & Research Office, General Appropriations
              Act, https://tinyurl.com/yb7u5snj. Further, licensing fees collected by
              the Board are remitted to the state treasury. O.C.G.A. § 43-1-3(a)(6).

      •       Georgia’s Law Department is defending Defendants in this case.

      In addition, Georgia’s Court of Appeals has held that the Board is entitled to

sovereign immunity. See Georgia State Bd. of Dental Examiners v. Daniels, 137 Ga.




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App. 706, 707 (1976). This Court should give “great deference” to that court’s view.

Versiglio, 686 F.3d at 1292.

      As the Georgia Board of Dentistry is an arm of the State, SmileDirect’s claims

against the Board itself are barred by sovereign immunity and must therefore be

DISMISSED.

      However, SmileDirect’s federal antitrust and constitutional claims may

proceed against the Board members in their official capacities. Although Eleventh

Amendment ordinarily bars claims filed against state officials (sued in their official

capacity) seeking retrospective or compensatory relief, see Pennhurst State Sch. &

Hosp. v. Halderman, 465 U.S. 89, 101 (1984), the United States Supreme Court has

recognized an important exception to Eleventh Amendment immunity with regard

to state officals. Under the doctrine of Ex parte Young, 209 U.S. 123 (1908), the

Eleventh Amendment does not bar suits which seek prospective relief against state

officials to prevent them from violating federal law. See Pennhurst at 102; see also

Summit Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1336-37 (11th Cir. 1999).

       “In determining whether the doctrine of Ex parte Young avoids an Eleventh

Amendment bar to suit, a court need only conduct a straightforward inquiry into

whether the complaint alleges an ongoing violation of federal law and seeks relief

properly characterized as prospective.” Verizon Maryland, Inc. v. Pub. Serv.

Comm’n of Maryland, 535 U.S. 635, 645 (2002) (internal quotation marks omitted).


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The bulk of SmileDirect’s Complaint (Doc. 1) satisfies that standard. However, in

portions of the Complaint, SmileDirect seeks to recover damages for the injuries it

has sustained as a result of the amended Rule. To the extent that Smile Direct seeks

to recover damages in Counts II-IV for any injuries it has sustained, those portions

of the claims do not satisfy the exception of Ex parte Young and are, thus, barred by

sovereign immunity. Accordingly, the motion to dismiss is GRANTED as to the

portions of the claims in Counts II-IV that seek compensatory damages from the

Board members.

      To the extent that the Counts II-IV seek an injunction restraining the Board

members from prospective enforcement of the amended Rule in contravention of

controlling federal law, specifically, various provisions of the U.S. Constitution and

the Sherman Antitrust Act, those portions of the claims in Counts II-IV may proceed

against the Board members. It is well settled that a plaintiff may properly assert

claims for prospective injunctive relief against state officials alleged to be violating

federal law. See Verizon Maryland, 535 U.S. at 645-646. Moreover, prospective

relief is equally available whether the law that state officials are allegedly violating

is a federal statute (like the Sherman Act) or the Constitution. See id. (permitting suit

for prospective relief against state officials alleged to be violating a federal statute

and administrative order); Doe 1-13 By & Through Doe, Sr. 1-13 v. Chiles, 136 F.3d

709, 720-21 (11th Cir. 1998) (affirming prospective injunctive relief forbidding state


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officials from continuing to violate a federal statute); Edelman v. Jordan, 415 U.S.

651, 664 (1974) (explaining that Ex parte Young permits suits to enjoin state

officials from prospectively violating the Constitution).

      Here, SmileDirect seeks injunctive relief to prevent the future enforcement of

Rule 150-9-.02(3)(aa), which Smile Direct alleges is in violation of federal statutory

and constitutional law. (See Doc. 1, Complaint at ¶¶ 90-113; see also Complaint at

p. 36, Prayer for Relief). To the extent that Counts II-IV seeks prospective injunctive

relief, the Court holds that SmileDirect’s claims against the Board members fall

squarely within the Ex parte Young exception to Eleventh Amendment immunity.

      2. Sherman Antitrust Claim (Count II)

      The Sherman Act prohibits any unreasonable “contract, combination . . ., or

conspiracy, in restraint of trade.” 15 U.S.C. § 1. A plaintiff pleads an antitrust claim

by alleging facts manifesting a “unity of purpose or a common design and

understanding or a meeting of minds in an unlawful arrangement,” or “a conscious

commitment to a common scheme designed to achieve an unlawful objective.”

Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984) (quotation marks

omitted).

      Here, the Complaint asserts that there is evidence of concerted action on the

part of the Board members: “the Defendants have agreed and acted upon a policy of

excluding non-dentists from providing digital scans without the direct supervision


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of dentists, thereby harming competition in the Relevant Market. This agreement

among Defendants is expressly stated in Subparagraph (aa) of Rule 150-9-.02(3).”

(See Doc. 1, Complaint at ¶ 91). The Complaint further alleges that Defendants’

concerted action unreasonably restrains trade by “depriv[ing] dentists that utilize a

new, more efficient method of competition of a fair opportunity to compete in the

Relevant Market . . . [and] reduc[ing] the number of providers of aligner treatment

in Georgia and the output of such services.” (See Doc. 1, Complaint at ¶ 98; see also

id. at ¶¶ 49-52, 89-99).

      These allegations are sufficient to plausibly allege concerted action. See N.C.

State Bd. of Dental Exam’rs v. FTC, 717 F.3d 359, 373 (4th Cir. 2013) (direct

evidence of concerted action where “the Board discussed teeth whitening services

provided by non-dentists and then voted to take action to restrict those services”),

aff’d, 135 S. Ct. 1101 (2015). Allegations of express agreement “‘require[] no

inferences to establish the proposition or conclusion being asserted.’” In re Ins.

Brokerage Antitrust Litig., 618 F.3d 300, 324, n.23 (3d Cir. 2010).           While

SmileDirect ultimately may not be able to prove concerted action to unreasonably

restrained trade, the Complaint is sufficient to survive the motion to dismiss as it

relates to the Board members.

      The Board member defendants also contend that the antitrust claim should be

dismissed because they are entitled to state-action immunity from the Sherman Act


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claim under Parker v. Brown, 317 U.S. 341 (1943) and its progeny. However, the

United States Supreme Court clearly has held that “a state board on which a

controlling number of decisionmakers are active market participants in the

occupation the board regulates must satisfy certain requirements in order to invoke

state-action antitrust immunity.” N.C. State Bd. of Dental Exam’rs v. FTC, 135 S.

Ct. 1101, 1114 (2015). Because the Complaint alleges that a majority of the Board

members are active market participants (dentists), Defendants must show “first that

‘the challenged restraint … be one clearly articulated and affirmatively expressed as

state policy,’ and second that ‘the policy . . . be actively supervised by the State.’”

Id. at 1110 (quoting California Retail Liquor Dealers Ass’n v. Midcal Aluminum,

Inc., 445 U.S. 97, 105 (1980)).

      Considering the specific facts alleged in the Complaint at the motion to

dismiss stage, Defendants have not satisfied the active supervision requirement.

Although Defendants have provided a “Certification of Active Supervision” signed

by the Governor which approves the amendment to Rule 150-9-.02 (See Doc. 29-2),

SmileDirect alleges in its Complaint that the Board “fail[ed] to fully advise the

Governor of the reasons for its actions and the objections to its actions,” that “the

Board’s official minutes fail to provide a full and complete summary of objections

to the Board’s action expressed during official Board meetings,” and that the Board

failed to inform the Governor of the consumer impact of the amendment or disclosed


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the conflicts of interest. (See Doc. 1, Complaint at ¶ 45).            Thus, the Complaint

reveals a well-pleaded factual dispute that is not resolved by the Certification of

Active Supervision. Only discovery will determine whether the Board provided all

relevant information to the Governor, whether the proposed amendment was

subjected to any meaningful review by the Governor, or whether the Certification of

Active Supervision was merely “rubberstamped” as a matter of course. See Patrick

v. Burget, 486 U.S. 94, 101 (1988) (“[t]he mere presence of some state involvement

or monitoring does not suffice” to meet the active supervision requirement).1

       Accordingly, the Court finds that a definitive ruling on Parker immunity

would be premature at this stage, that SmileDirect’s Sherman Act anititrust claim,

as pleaded, is sufficient to survive a Rule 12(b)(6) motion to dismiss on Parker

immunity grounds, and that further factual development is required to determine

whether the Board members are entitled to Parker immunity. The Board members

may therefore raise the Parker immunity defense at a later stage in this litigation,

such as in a motion for summary judgment, if appropriate.


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  The Court also rejects Defendants’ contention that the intra-corporate immunity doctrine
applies. “The relevant inquiry” is whether Defendants are “separate economic actors
pursuing separate economic interests, such that the agreement deprives the marketplace of
independent centers of decision making … and thus of actual or potential competition.”
Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 195 (2010) (citations and
quotation marks omitted). The Complaint plausibly alleges that the majority of Defendants
are actual or potential competitors to SmileDirect (see Doc. 1, Complaint at ¶¶ 4-14), and
there is no basis to ignore this factual allegation at the pleading stage. See N.C. State Board,
717 F.3d at 371-72 (practicing dentists on Board were “actual or potential competitors”
with “the capacity to conspire”).
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      3. Constitutional Claims — Equal Protection (Count III) and Substantive

Due Process (Count IV)

      SmileDirect’s constitutional claims are subject to rational-basis review, which

asks “(1) whether the government has the power or authority to regulate the

particular area in question, and (2) whether there is a rational relationship between

the government’s objective and the means it has chosen to achieve it.” Blue Kendall,

LLC v. Miami Dade County, 816 F.3d 1343, 1351 (11th Cir. 2016).

      SmileDirect alleges that subparagraph (3)(aa) of the Rule creates an arbitrary

distinction between persons or entities who offer digital scans by technicians (such

as SmileDirect) and those who offer digital scans by expanded duty dental assistants

acting under the direct supervision of a licensed dentist or orthodontist. (See Doc.

1, Complaint at ¶ 102). While Defendants contend that the Rule promotes health

and safety, the Complaint alleges that digital scans present no health or safety risk

to a customer — pointing out that SmileDirect has performed hundreds of thousands

of scans nationwide without a single complaint of an adverse patient outcome and

that there is no known evidence that digital scans taken under the “direct

supervision” of a licensed dentist or orthodontist are safer or more accurate than

SmileDirect’s scans. (See Doc. 1, Complaint at ¶¶ 41, 61, 71). While Defendants

may disagree with the Complaint’s factual allegations, this dispute cannot be

resolved at the motion-to-dismiss stage. Construing the facts most favorably to


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SmileDirect, the Court concludes that the Complaint adequately sets forth a plausible

equal protection claim.

      SDC also alleges that the Rule deprives it of liberty and property interests by

imposing restrictions on its ability to offer digital scans that are not rationally related

to any legitimate governmental interest. (See Doc. 1, Complaint at ¶ 110). The

Court notes that “protecting a discrete interest group from economic competition is

not a legitimate governmental purpose.” Craigmiles v. Giles, 312 F.3d 220, 224 (6th

Cir. 2002). Here, SmileDirect alleges that the Rule “is merely designed to protect

the business interests of traditional orthodontic practices” and that any purported

health benefits are purely pretextual. (See Doc. 1, Complaint at ¶¶ 52, 58, 65-71).

These allegations are sufficient to state a viable due process claim.

IV. CONCLUSION

      For the reasons stated above, IT IS HEREBY ORDERED as follows:

      •    AAO’s motion for leave to file an Amicus Curiae Response Brief [Doc.

          46] is DENIED;

      •    Defendants’ Motion to Dismiss [Doc. 29] is GRANTED with respect to

          SmileDirect’s declaratory judgment claim in Count I of the Complaint;

      • Defendants’ Motion to Dismiss [Doc. 29] is GRANTED with respect to

          the claims against Defendant Georgia Board of Dentistry in Counts II-IV

          for lack of subject matter jurisdicition, and said claims are DISMISSED

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  WITHOUT PREJUDICE. The Clerk of Court is DIRECTED to

  terminate Defendant Georgia Board of Dentistry in its docket; and

• Defendants’ Motion to Dismiss [Doc. 29] is DENIED with respect to the

  claims in Counts II-IV against the Board member defendants.


IT IS SO ORDERED this 8th day of May, 2019.



                                     ___________________________
                                     WILLIAM M. RAY, II
                                     United States District Judge
                                     Northern District of Georgia




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